OAO 187 (Rev. 7/87) Exhibit and Witness List


                                                  UNITED STATES DISTRICT COURT
                                                                                        DISTRICT OF                    Massachusetts


                                James Wade
                                                                                                                   EXHIBIT AND WITNESS LIST
                             V.
                 Donna Denese Atherton, MSW                                                                            Case Number: 1:11-CV-10051-FDS

PRESIDING JUDGE                                                       PLAINTIFF’S ATTORNEY                                    DEFENDANT’S ATTORNEY
                     F. Dennis Saylor                                              Ross A. ANNENBERG                                                 (none)
TRIAL DATE (S)                                                        COURT REPORTER                                          COURTROOM DEPUTY
                           7/12/2013                                                          O’HARA                                           CICOLINI
 PLF.      DEF.        DATE
                                      MARKED         ADMITTED                                              DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

   1                7/12/2013             X               X          Courtesy Dose Form from Roxbury Comprehensive Community Health Center

                                                                     Dated 7/28/2009




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

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